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     1 ERIC BALL (CSB No. 241327)
       eball@fenwick.com
     2 KIMBERLY CULP (CSB No. 238839)
       kculp@fenwick.com
     3 FENWICK & WEST LLP
       801 California Street
     4 Mountain View, CA 94041
     5 Telephone: 650.988.8500
       Facsimile: 650.938.5200
     6
       MOLLY R. MELCHER (CSB No. 272950)
     7 mmelcher@fenwick.com
       ANTHONY M. FARES (CSB No. 318065)
     8 afares@fenwick.com
       ETHAN M. THOMAS (CSB No. 338062)
     9 ethomas@fenwick.com
       FENWICK & WEST LLP
    10 555 California Street, 12th Floor
    11 San Francisco, CA 94104
       Telephone: 415.875.2300
    12
         Additional Counsel listed on next page
    13
       Attorneys for Plaintiff
    14 YUGA LABS, INC.
    15
    16                             UNITED STATES DISTRICT COURT
    17                           CENTRAL DISTRICT OF CALIFORNIA
    18                              WESTERN DIVISION – Los Angeles
    19
    20 YUGA LABS, INC.,                            Case No.: 2:22-cv-04355-JFW-JEM
    21                     Plaintiff,              NOTICE OF AMENDED OFFER OF
                                                   PROOF FOR LAUREN KINDLER
    22          v.
    23
         RYDER RIPPS, JEREMY CAHEN,
    24
                           Defendants.
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         NOTICE OF AMENDED OFFER OF PROOF FOR                    Case No. 2:22-cv-04355-JFW-JEM
         LAUREN KINDLER
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     1 MELISSA L. LAWTON (CSB No. 225452)
       mlawton@fenwick.com
     2 FENWICK & WEST LLP
       228 Santa Monica Boulevard
     3 Santa Monica, CA 90401
       Telephone: 310.434.4300
     4
     5 DAVID Y. SILLERS (admitted pro hac vice)
       david@clarelocke.com
     6 KATHRYN HUMPHREY (admitted pro hac vice)
       kathryn@clarelocke.com
     7 MEGAN L. MEIER (admitted pro hac vice)
       megan@clarelocke.com
     8 CLARE LOCKE LLP
       10 Prince Street
     9 Alexandria, VA 22314
       Telephone: 202.628.7400
    10
    11 Attorneys for Plaintiff
       YUGA LABS, INC.
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     1           Pursuant to the Court’s June 2, 2023 Order (Dkt. 264), Plaintiff Yuga Labs,
     2 Inc. (“Yuga Labs”) submitted an Offer of Proof for its expert witness Lauren Kindler
     3 on June 5, 2023. See Dkt. 268. Yuga Labs hereby amends its Offer of Proof for
     4 Lauren Kindler (Dkt. 268) to include new material that is relevant to Ms. Kindler’s
     5 opinion regarding damages and Ms. Kindler’s expert testimony and did not exist until
     6 after Yuga Labs filed its Offer of Proof (Dkt. 268) on June 5, 2023. Yuga Labs adds
     7 the following exhibits to its exhibit list, on which Ms. Kindler relied for her amended
     8 opinion:
     9            JTX-1617 (June 6, 2023 tweet by Jeremy Cahen and accompanying replies)
    10              (attached as Exhibit A to the accompanying Declaration of Eric Ball (“Ball
    11              Decl.”))
    12            JTX-1620 (June 6, 2023 tweet by Jeremy Cahen, retweeted by Ryder
    13              Ripps) (attached as Exhibit B to the Ball Decl.)
    14            JTX-1621 (NFTGO analytics for BAYC NFTs) (attached as Exhibit C to
    15              the Ball Decl.)
    16            JTX-1622 (NFOGO overview for BAYC NFTs) (attached as Exhibit D to
    17              the Ball Decl.)
    18            JTX-1623 (NFTGO analytics for RR/BAYC NFTs) (attached as Exhibit E
    19              to the Ball Decl.)
    20            JTX-1624 (NFTGO overview (short version) for RR/BAYC NFTs)
    21              (attached as Exhibit F to the Ball Decl.)
    22            JTX-1625 (NFTGO overview for RR/BAYC NFTs) (attached as Exhibit G
    23              to the Ball Decl.)
    24            JTX-1626 (OpenSea “analytics” page for BAYC NFTs) (attached as
    25              Exhibit H to the Ball Decl.)
    26           Per the Court’s Civil Trial Order (Dkt. 284), these exhibits will be added to the
    27 Final Pre-Trial Exhibit Stipulation. As part of the parties’ preparation of the final
    28 Pre-Trial Exhibit Stipulation, the parties will confer on objections and admissibility

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         LAUREN KINDLER                              1                  Case No. 2:22-cv-04355-JFW-JEM
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     1 as to the new exhibits.
     2           The Amended Offer of Proof for Lauren Kindler is attached to the Declaration
     3 of Eric Ball as Exhibit I, and a redline of changes is attached as Exhibit J. “Exhibit G”
     4 to the Amended Offer of Proof for Lauren Kindler is attached to the Declaration of
     5 Eric Ball as Exhibit K and lists the foregoing exhibits as materials relied on by Ms.
     6 Kindler in amending her opinion.
     7
     8 Dated: June 8, 2023                      FENWICK & WEST LLP
     9
    10                                          By: /s/ Eric Ball
    11                                              Eric Ball
                                                Attorneys for Plaintiff
    12                                          YUGA LABS, INC.
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         LAUREN KINDLER                            2                  Case No. 2:22-cv-04355-JFW-JEM
